
In re: Clark E. Colvin, Jr. applying for writ of review and other supervisory writs. Parish of Ouachita.
Writ granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a Writ of Certiorari issue herein, directing the Honorable Robert T. Farr, Judge of the Fourth Judicial District, Court for the Parish of Ouachita, to transmit to the Supreme Court of Louisiana, on or before the 25th day of January, 1978, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on a date to be fixed by this Court at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
